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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLORADO


  JAIME GENTRY, as Mother and
  Natural Guardian of RG, a minor,

         Plaintiff(s),

  v.                                                 Case No. 1:21-cv-2227-NYW

  STONE CASTLE CORPORATION,
  a Colorado Corporation,

        Defendant(s).
  ______________________________/

                     STIPULATION FOR DISMISSAL WITH PREJUDICE

          Plaintiff and Defendant, pursuant to the Federal Rules of Civil Procedure, hereby move
  to dismiss this action with prejudice, a resolution of all matters in dispute, having been made
  pursuant to a Settlement Agreement executed between the parties. The parties have stipulated in
  their agreement that the Court retain jurisdiction to enforce the terms and conditions of the
  Settlement Agreement.
  Respectfully Submitted,

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   Date: January 18, 2022                         Date: January 18, 2022
